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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 

BID PROTEST

)
ORACLE AMERICA, INC., )
)
Plaintiff, )

) Case No. 18-1880C

v. ) Senior Judge Eric G. Bruggink

)
THE UNITED STATES, )
)
Defendant. )
)

 

APPLICATION FOR ACCESS TO INFORMATION UN])ER
PROTECTIVE GRDER BY ()UTSIDE OR INSIDE COUNSEL

1. I, Craig A. Holman, hereby apply for access to protected information covered by the
Protective Order issued in connection With this proceeding

2. l am an attorney With the law firm of Arnold & Porter Kaye Scholer LLP and have been
retained to represent Oracle America, Inc., a party to this proceeding

3. l am a member of the bar of the United States Court of Federal Claims.

4. My professional relationship With the party I represent in this proceeding and its
personnel is strictly one of legal counsel. l am not involved in competitive decision making as
discussed in U.S. Steel Corp. v. United States, 730 F.Zd 1465 (Fed. Cir. 1984), for or on behalf of
the party I represent, any entity that is an interested party to this proceeding, or any other firm
that might gain a competitive advantage from access to the information disclosed under the
Protective Order. l do not provide advice or participate in any decisions of such parties in
matters involving similar or corresponding information about a competitor. This means that l do
not, for example, provide advice concerning, or participate in decisions about, marketing or
advertising strategies, product research and development, product design or competitive
structuring and composition of bids, offers, or proposals With respect to Which the use of
protected information could provide a competitive advantage

5. I identify here (by Writing "none" or listing names and relevant circumstances) those
attorneys in my firm Who, to the best of my knowledge, cannot make the representations set forth
in the preceding paragraph:

NONE

6. I identify here (by Writing "none" or listing names, position, and responsibilities) any
member of my immediate family Who is an officer or holds a management position With an
interested party in the proceeding or With any other firm that might gain a competitive advantage
from access to the information disclosed under the Protective ()rder.

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NONE

7. l identify here (by Writing "none" or identifying the name of the forum, case number,
date, and circumstances) instances in Which I have been denied admission to a protective order,
had admission revoked, or have been found to have violated a protective order issued by any
administrative or judicial tribunal:

NONE

8. I have read the Protective Order issued by the court in this proceeding I Will comply in
all respects With that order and Will abide by its terms and conditions in handling any protected
information produced in connection With the proceeding

9. l acknowledge that a violation of the terms of the Protective Order may result in the
imposition of such sanctions as may be deemed appropriate by the court and in possible civil and
criminal liability.

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By my signature, I certify that, to the best of my knowledge, the representations set forth

above tie/fy and correct.
&;/ Z____ /Z///*/S

Signature Date Executed

 

 

Craig A. Holman Partner
Typed Name and Title

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JL_ /z»//_/z

Signature of Attorney of Record Date EXecuted

 

 

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